
8 N.Y.2d 1072 (1960)
The People of the State of New York, Respondent,
v.
Patrick Bartone, Appellant.
Court of Appeals of the State of New York.
Argued October 18, 1960.
Decided October 20, 1960.
Mario Matthew Cuomo for appellant.
Isidore Dollinger, District Attorney (Walter E. Dillon of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order reversed and case remanded to the Appellate Division for reinstatement of the appeal, to be heard on the original papers (People v. Borum, 8 N Y 2d 177). On such reinstated appeal appellant will be entitled either to have a copy of said original papers or to assignment of counsel (People v. Kalan, 2 N Y 2d 278; People v. Breslin, 4 N Y 2d 73). No opinion.
